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      In The United States Court of Federal Claims
                                           No. 05-400C

                                     (Filed: February 20, 2009)
                                            __________
 MICHAEL W. STOVALL,                             *     Motion to compel production; Scope of
                                                 *     discovery – RCFC 26(b)(1); Attorney-client
                        Plaintiff,               *     privilege – defined; Applicability of
                                                 *     privilege to advice received from counsel;
        v.                                       *     Waiver – implied waiver where the party
                                                 *     opposing production may rely on parol
 THE UNITED STATES,                              *     evidence in interpreting a contract and where
                                                 *     that parol evidence may derive from the
                        Defendant.               *     attorneys who negotiated and drafted the
                                                 *     agreement; Bare-bones requests for
                                                 *     representation not protected by attorney-
                                                 *     client privilege; Documents ordered
                                                 *     produced.
                                            _________

                                             ORDER
                                            __________

       Howell R. Riggs, Dick Riggs Miller LLP, Huntsville, AL, for plaintiff.

       Devin A. Wolak, Civil Division, United States Department of Justice, Washington, D.C.,
with whom was Acting Assistant Attorney General Michael F. Hertz, for defendant.

ALLEGRA, Judge:

        Pending before the court, in this contract case, is plaintiff’s motion to compel the
production of documents responsive to one of its requests for production. Defendant claims,
inter alia, that the subject documents are privileged. Following an en camera review of the
documents in question, and for the reasons that follow, the court GRANTS, in part, and
DENIES, in part, plaintiff’s motion.

                                                  I.

       A brief recitation of the underlying facts sets the context for this decision.

        On February 27, 1998, Michael Stovall (plaintiff), an African-American farmer in
Alabama, and the Office of Civil Rights of the United States Department of Agriculture (USDA)
settled a discrimination claim against the agency by entering into a “Resolution Agreement.”
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Under the agreement, Mr. Stovall waived any rights against USDA and its employees arising
from his discrimination claim in exchange for the USDA’s promise to pay him $145,000 in
compensatory damages, discharge his debts to the Farm Service Agency of the USDA, offer him
priority consideration on future loan applications, provide reasonable attorney’s fees and costs,
and other relief. The Office of General Counsel (OGC) of the USDA participated in the
negotiation and drafting of this agreement. Plaintiff asserts that the USDA later breached this
agreement when it failed to extend him additional credit and refused to restructure his existing
loans.

        In January of 2004, plaintiff brought suit in the United States District Court for the
District of Columbia, asserting this breach of contract as part of a broader complaint. The breach
claim was transferred by the district court to this court and, on April 21, 2005, plaintiff filed an
amended complaint in this court. On June 16, 2005, defendant filed a motion to dismiss the
complaint under RCFC 12(b)(1), claiming that the agreement in question was entered into by the
government in its sovereign capacity and that this court, therefore, lacked jurisdiction to resolve
any allegations that the agreement was breached. On July 5, 2006, the court denied this motion,
holding that it had jurisdiction under the Tucker Act, 28 U.S.C. § 1491, to resolve the claim that
the USDA had breached the settlement agreement. See Stovall v. United States, 71 Fed. Cl. 696
(2006).

        On August 25, 2006, the court established a discovery schedule for this case, which most
recently was extended on September 16, 2008. That same day, plaintiff filed a motion to compel
defendant “to produce the March 30, 1998 memorandum prepared by the Office of General
Counsel for the United States Department of Agriculture, pertaining to the plaintiff’s claims”
(hereinafter, the “OGC Memorandum”). In its October 17, 2008, response to this motion,
defendant claimed that the OGC Memorandum was protected by the attorney-client privilege.
On October 31, 2008, plaintiff filed his reply brief in support of his motion, therein broadening
the motion to cover an additional twenty-five documents.1 On November 13, 2008, the court
ordered defendant to submit, for en camera review, a copy of each of the twenty-six documents
at issue. Defendant complied with this order on December 4, 2008.

         On January 26, 2009, the court ordered defendant to file a memorandum indicating
whether, in litigating this case, it intended to rely upon any extrinsic (parol) evidence to bolster
its interpretation of the Resolution Agreement, and, if so, whether any of that evidence would


       1
           In his reply brief, plaintiff indicated that he had excluded from his original motion a
request for an order seeking the production of twenty-three other documents in defendant's
privilege log because defendant had represented that those documents would be produced.
Plaintiff claimed that despite those representations, the documents were not produced.
Defendant has not addressed this assertion. Plaintiff broadened the scope of his motion to
compel to include these twenty-three documents, plus two additional copies of the OGC
Memorandum – bringing the total number of documents sought to twenty-six (i.e., the OGC
Memorandum originally requested plus twenty-five other documents).

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relate to communications involving members of the OGC. On February 2, 2009, defendant filed
its memorandum indicating that it could not foreclose the possibility that it would rely upon such
parol evidence, noting that such evidence might derive from the OGC attorneys who helped
negotiate and draft the Resolution Agreement.

                                                 II.

       Pursuant to RCFC 37, plaintiff seeks an order compelling defendant to turn over a range
of documents that assertedly relate to the issues in this matter. Defendant asseverates that all or
portions of these documents are protected by the attorney-client privilege.

         The Federal Circuit has instructed that “[q]uestions of the scope and conduct of discovery
are, of course, committed to the discretion of the trial court.” Florsheim Shoe Co. v. United
States, 744 F.2d 787, 797 (Fed. Cir. 1984). In deciding either to compel or quash discovery, this
court must balance potentially conflicting goals. On the one hand, it “‘must be careful not to
deprive a party of discovery that is reasonably necessary to afford a fair opportunity to develop
and prepare the case.’” Heat & Control, Inc. v. Hester Indus., Inc., 785 F.2d 1017, 1024 (Fed.
Cir. 1986) (quoting Fed. R. Civ. P. 26(b)(1) advisory comm. notes (1983)); see also Epstein v.
MCA, Inc., 54 F.3d 1422, 1423 (9th Cir. 1995) (per curiam). As the Supreme Court once
famously indicated, “[n]o longer can the time-honored cry of ‘fishing expedition’ serve to
preclude a party from inquiring into the facts underlying his opponent's case.” Hickman v.
Taylor, 329 U.S. 495, 507 (1947). On the other hand, the Court in Hickman cautioned that
“discovery, like all matters of procedure, has ultimate and necessary boundaries . . . [L]imitations
come into existence when the inquiry touches upon the irrelevant or encroaches upon the
recognized domains of privilege.” Id. at 507-08; see also Evergreen Trading, LLC v. United
States, 80 Fed. Cl. 122, 126 (2007); Vons Cos., Inc. v. United States, 51 Fed. Cl. 1, 5 (2001).
Encapsulating these considerations, RCFC 26(b)(1), like its Federal Rules counterpart, provides
that a party may obtain discovery of any matter that: (i) is “non-privileged,” and (ii) “is relevant
to any party’s claim or defense.” See also In re EchoStar Commc’ns Corp., 448 F.3d 1294, 1300
(Fed. Cir. 2006), cert. denied, 549 U.S. 1096 (2006); Evergreen Trading, 80 Fed. Cl. at 126;
Vons, 51 Fed. Cl. at 5.

        Defendant argues that the materials requested, or at least critical portions thereof, are
subject to the attorney-client privilege. That privilege “protects the confidentiality of
communications between attorney and client made for the purpose of obtaining legal advice.”
Genentech, Inc. v. United States Int’l Trade Comm’n, 122 F.3d 1409, 1415 (Fed. Cir. 1997); see
also EchoStar, 448 F.3d at 1299; Am. Standard Inc. v. Pfizer, Inc., 828 F.2d 734, 745 (Fed. Cir.
1987). The privilege encourages “full and frank communication between attorneys and their
clients and thereby promote[s] broader public interests in the observance of law and the




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administration of justice.” Upjohn Co. v. United States, 449 U.S. 383, 389 (1981).2 The classic
Wigmorean definition of the privilege asserts that-

       [w]here legal advice of any kind is sought from a professional legal adviser in his
       capacity as such, the communications relating to that purpose, made in confidence
       by the client, are at his instance permanently protected from disclosure by himself
       or by the legal adviser, except the protection be waived.

8 John Henry Wigmore, Evidence in Trials at Common Law § 2292 (McNaughton rev. 1961).
“Breaking this definition into its component parts,” this court recently observed, reveals that “‘in
order for the attorney-client privilege to attach, the communication in question must be made:
(1) in confidence; (2) in connection with the provision of legal services; (3) to an attorney; and
(4) in the context of an attorney-client relationship.’” Evergreen Trading, 80 Fed. Cl. at 128
(quoting United States v. BDO Seidman LLP, 492 F.3d 806, 815 (7 th Cir. 2007), cert. denied, 128
S. Ct. 1471 (2008)); see also United States v. Bisanti, 414 F.3d 168, 171 (1st Cir. 2005); In re
Sealed Case, 737 F.2d 94, 98-99 (D.C. Cir. 1984); Deseret Mgmt. Corp. v. United States, 76 Fed.
Cl. 88, 90 (2007).3 “‘[A]n agency can be a ‘client’ and agency lawyers can function as
‘attorneys’ within the relationship contemplated by the privilege.’” Rein v. United States Patent


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          See also Swidler & Berlin v. United States, 524 U.S. 399, 403 (1998); Hunt v.
Blackburn, 128 U.S. 464, 470 (1888) (the privilege “is founded upon the necessity, in the interest
and administration of justice, of the aid of persons having knowledge of the law and skilled in its
practice, which assistance can only be safely and readily availed of when free from the
consequences or the apprehension of disclosure”); Evergreen Trading, 80 Fed. Cl. at 128.
       3
         Although it ultimately was not adopted, the rule describing the attorney-client privilege
promulgated by the Supreme Court in 1972 as part of the Proposed Federal Rules of Evidence has
been recognized “as a source of general guidance regarding federal common law principles.” In
re Grand Jury Investigation, 399 F.3d 527, 532 (2d Cir. 2005); see also 3 Jack B. Weinstein &
Margaret A. Berger, Weinstein’s Federal Evidence § 503.02 (Joseph M. McLaughlin, ed., 2d ed.
2006). Proposed Rule 503 was particularly instructive in summarizing the types of
communications that may be subject to the privilege –

       A client has a privilege to refuse to disclose and to prevent any other person from
       disclosing confidential communications made for the purpose of facilitating the
       rendition of professional legal services to the client, (1) between himself or his
       representative and his lawyer or his lawyer’s representative, or (2) between his
       lawyer and the lawyer’s representative, or (3) by him or his lawyer to a lawyer
       representing another in a matter of common interest, or (4) between
       representatives of the client or between the client and a representative of the
       client, or (5) between lawyers representing the client.

Proposed Fed. R. Evid. 503(b), 56 F.R.D. 183, 236 (1972); see also BDO Seidman, 492 F.3d at
814-15 (relying on this proposed rule).

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and Trademark Office, 553 F.3d 353, 376 (4 th Cir. 2009) (quoting Coastal States Gas Corp. v.
Dep’t of Energy, 617 F.2d 854, 863 (D.C. Cir. 1980)); see also Tax Analysts v. IRS, 117 F.3d
607, 618 (D.C. Cir. 1997).

         The twenty-six documents plaintiff seeks fall into six categories: (i) various copies of the
OGC Memorandum, which analyzes a draft of what would become the Resolution Agreement;
(ii) documents drafted by other USDA personnel, including notes to the file, that refer to the
OGC Memorandum; (iii) documents drafted by other USDA personnel, including notes to the
file, that refer to other communications with or from OGC lawyers; (iv) requests for legal
representation made by various USDA personnel; (v) electronic mail messages between USDA
personnel, including representatives from the OGC, discussing the handling of the administrative
complaint that predated the filing of the instant lawsuit; and (vi) electronic mail messages
between USDA personnel, including representatives from the OGC, discussing the handling of
this case. (The particulars of these documents are summarized in the accompanying Appendix
A.) The court will consider these groups seriatim, keeping in mind, of course, that the defendant
bears the burden of demonstrating that the privilege applies to each of the documents in question.
See Evergreen Trading, 80 Fed. Cl. at 127 (citing cases).

                                                III.

                                                 A.

        We begin with the document that remains the focal point here – the OGC Memorandum.
Plaintiff argues that this document should be produced because the attorney-client privilege is
essentially a one-way street – that is, it applies only to communications from a client to an
attorney and not the reverse. While this view finds support in the privilege’s “ancient moorings,”
courts, over time, have come to realize that excluding all attorney communications from the
privilege’s aegis could erode the incentive for individuals to seek advice and thereby undercut the
reason for having the privilege in the first place.4

        The Federal Circuit is among these courts. It has held that the privilege may “protect[]
the legal advice given or other communications from the attorney to the client depend[ing] on the
circumstance.” Amer. Std., 828 F.2d at 745; see also Mead Data, 566 F.2d at 253. In particular,
the privilege ought to apply, the Federal Circuit has stated, to “lawyer-to-client communications
that reveal, directly or indirectly, the substance of a confidential communication by the client.”
Amer. Std., 828 F.2d at 745; see also In re Sealed Case, 737 F.2d at 99; Deuterium Corp. v.
United States, 19 Cl. Ct. 697, 700 (1990).5 A slightly broader take on this point was offered by


       4
        Charles Alan Wright and Kenneth W. Graham, Jr., Federal Practice and Procedure:
Evidence § 5491 (1986); Wigmore, supra, at § 2320.
       5
          To be sure, American Standard is a patent case in which the Federal Circuit applied the
law of the regional circuit, in that case the Seventh Circuit. See In re Regents of Univ. of Cal.,
101 F.3d 1386, 1390 n.2 (Fed. Cir. 1996), cert. denied, 520 U.S. 1193 (1997). Nonetheless, the
opinion suggests that the court would adhere to this view even in a non-patent case.

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the D.C. Circuit in its In re Sealed Case, where Judge (now Justice) Ginsburg, writing on behalf
of the majority, stated:

       In practice, however, advice does not spring from lawyers’ heads as Athena did
       from the brow of Zeus. Inevitably, attorneys’ opinions reflect an accumulation of
       education and experience in the law and the large society law serves. In a given
       case, advice prompted by the client's disclosures may be further and inseparably
       informed by other knowledge and encounters. We have therefore stated that the
       privilege cloaks a communication from attorney to client “‘based, in part at least,
       upon a confidential communication [to the lawyer] from [the client].’” Brinton [v.
       Dept. of State], 636 F.2d [600,] 604 [(D.C. Cir. 1980)](emphasis added) (footnote
       omitted) (quoting 8 in 1 Pet Products, Inc. v. Swift & Co., 218 F. Supp. 253, 253
       (S.D.N.Y.1963)).

In re Sealed Case, 737 F.2d at 99; see also State of Maine v. United States Dep’t of Interior, 298
F.3d 60, 71 (1 st Cir. 2002); Schlefer v. United States, 702 F.2d 233, 245 (D.C. Cir. 1983). Farther
along the extreme, three circuits have gone so far as to hold that all advice provided by counsel to
client is privileged. See In re Grand Jury Subpoena, 341 F.3d 331, 335-36 (4th Cir. 2003), cert.
denied, 541 U.S. 982 (2004); United States v. Bauer, 132 F.3d 504, 507 (9th Cir. 1997); Sprague
v. Thorn Americas, Inc., 129 F.3d 1355, 1370-71 (10th Cir. 1997).6

        The question whether attorney communications are protected under the attorney-client
privilege thus has produced a spectrum of decisions – all of which, however, reject plaintiff’s
claim that the privilege does not attach to any attorney communications. The differences among
these cases can be traced to the solicitude they associate with the chance that revealing an
attorney’s communications might betray a client’s confidence or otherwise undercut the purposes
of the privilege. The more risk averse a court is in this regard, the broader its application of the
privilege and, concomitantly, the less likely it is to release a communication. That said, under the
facts here, the court need not probe the outer reaches of this jurisprudence for, whatever the
standard applied, the OGC Memorandum appears to reflect the substance of communications
received by the OGC from the USDA personnel who had requested legal advice. It thus is
protected by the privilege. But, that finding does not end our inquiry; rather, it merely begs
another question, to wit, whether the privilege has been implicitly waived here. More
specifically, the court must ask whether defendant’s willingness to rely on parol evidence in
construing the Resolution Agreement, including evidence from OGC sources, prevents it from



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          The broader views of when the privilege attaches to attorney communications find
support in Upjohn Co., 449 U.S. at 390, where the Supreme Court stated that “the privilege exists
to protect not only the giving of professional advice to those who can act on it but also the giving
of information to the lawyer to enable him to give sound and informed advice.” Of course, in
some instances, documents prepared by attorneys will be protected by the work product doctrine.
See RCFC 26(b)(3); Evergreen Trading, 80 Fed. Cl. at 131-33. Defendant, however, has
expressly disavowed any reliance upon that privilege here.

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invoking the privilege to shield from discovery evidence regarding the same office’s participation
in the negotiating and drafting processes.

        Generally, “[c]ourts have found waiver by implication when a client testifies concerning
portions of the attorney-client communication, . . . when a client places the attorney-client
relationship directly at issue, . . . and when a client asserts reliance on an attorney’s advice as an
element of a claim or defense.” Sedco Int'l S.A. v. Cory, 683 F.2d 1201, 1206 (8 th Cir. 1982)
(citations omitted), cert. denied, 459 U.S. 1017 (1982); see also In re County of Erie, 546 F.3d
222, 228 (2 nd Cir. 2008). The rationale for this rule was recently laid out by the Federal Circuit in
its Seagate Technology decision –

       “The widely applied standard for determining the scope of a waiver . . . is that the
       waiver applies to all other communications relating to the same subject matter.”
       Fort James Corp. v. Solo Cup Co., 412 F.3d 1340, 1349 (Fed. Cir. 2005). This
       broad scope is grounded in principles of fairness and serves to prevent a party
       from simultaneously using the privilege as both a sword and a shield; that is, it
       prevents the inequitable result of a party disclosing favorable communications
       while asserting the privilege as to less favorable ones. EchoStar, 448 F.3d at
       1301; Fort James, 412 F.3d at 1349. Ultimately, however, “[t]here is no bright
       line test for determining what constitutes the subject matter of a waiver, rather
       courts weigh the circumstances of the disclosure, the nature of the legal advice
       sought and the prejudice to the parties of permitting or prohibiting further
       disclosures.” Fort James, 412 F.3d at 1349-50.

In re Seagate Technology, LLC, 497 F.3d 1360, 1372 (Fed. Cir. 2007), cert. denied, 128 S.Ct.
1445 (2008); see also Evergreen Trading, 80 Fed. Cl. at 129. Indeed, a veritable Niagara of
opinions have concluded that where a party affirmatively reserves the right to use parol evidence
to bolster its interpretation of a contract, it may not, via the attorney-client privilege, withhold
from discovery attorney-client communications that also form the extrinsic context for the
agreement, particularly those that occurred in negotiating or interpreting the agreement.7 In such


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           See, e.g., Union County IA v. Piper Jaffray & Co., Inc., 248 F.R.D. 217, 221-23 (S.D.
Iowa 2008) (privilege waived in breach of contract action where party has placed the parol
evidence at issue); IMC Chems., Inc. v. Niro, Inc., 2000 WL 1466495, at *23 (D. Kan. July 19,
2000) (“When a party already has disclosed some privileged information relating to its intent
with regard to a contract and such party intends to rely upon extrinsic evidence to support its
interpretation of the contract, it has waived the attorney-client privilege attached to intent and
interpretation thereof.”); Commodity Futures Trading v. Richards, 1996 WL 308286, at *5 (N.D.
Ill. June 6, 1996) (where there is an indication that a party’s attorney may contribute evidence as
to her intention in negotiating a settlement agreement, it would be “improper and unjust to assert
the attorney-client privilege to bar discovery of [the] attorneys’ intent in negotiating the
agreement”); Medtronic v. Intermedics, Inc., 162 F.R.D. 133, 134-35 (D. Minn. 1995) (if a party
refuses to forego the possibility of offering parol evidence to support its interpretation of
settlement agreement, it waives the privilege); Pitney-Bowes, Inc. v. Mestre, 86 F.R.D. 444, 447-

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circumstances, a waiver of the privilege as to the latter communications is implied. And fairness
particularly compels this result when the party seeking to support its interpretation of an
agreement with parol evidence indicates that it might rely on evidence taken from its own
attorneys.

         Such is the case here. On January 26, 2009, this court ordered defendant to state whether
it intended to use parol evidence, including evidence derived from OGC representatives, to
bolster its interpretation of the Resolution Agreement. On February 2, 2009, defendant
responded, indicating that it could not “foreclose the possibility” that it would rely on extrinsic
evidence to support its interpretation of the agreement. It further indicated that if such evidence
were offered, it “would relate to the contracting parties’ intention at the time of contract
formation” and that two of the individuals “possessing knowledge of the parties’ intent during
negotiations” were the “attorneys with the USDA Office of General Counsel who participated in
the negotiation and drafting of the agreement.” Accordingly, when asked, defendant indicated
that it might rely upon evidence taken from the OGC attorneys, thereby, in the court’s view,
opening the door for plaintiff to conduct discovery regarding the views held by the OGC
attorneys during the drafting and negotiation of the Resolution Agreement. As such, while the
attorney-client privilege appears to cover the OGC Memorandum, it has been impliedly waived
here. To rule otherwise would be to allow defendant to use the privilege as a sword and shield –
to rely potentially upon parol evidence from its attorneys to influence the interpretation of the
contract, while denying plaintiff access to privileged material that might be used to rebut that
evidence. Fairness does not permit such a result.8


48 (S.D. Fla. 1980) (waiver where plaintiff placed at issue the intent of the parties regarding
certain provisions of the contract); see also Synalloy Corp. v. Gray, 142 F.R.D. 266, 269 (D. Del.
1992) (“[B]y claiming ‘rescission’ of the Agreement due to ‘no meeting of the minds,’ [a party]
waived its right to prevent disclosure of communications which might show the parties intent in
entering the Agreements.”); Fed. Deposit Ins. Corp. v. Entabank Corp., 1991 U.S. Dist. LEXIS
15120, *2 (W.D. Mo. Oct. 15, 1991) (same result where parol evidence of intent in entering into
settlement agreement was placed at issue); Wright & Graham, supra at § 5506 (citing other
cases).
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          One might assert – although defendant has not – that the court should await further
proceedings in this case to see whether extrinsic evidence involving the OGC actually comes into
play. That wait-and-see approach, however, risks having to reopen discovery at an inopportune
time – perhaps, in the midst of dealing with subsequent dispositive motions or even a trial. As
the court has given defendant the opportunity to disavow any use of extrinsic evidence taken
from its attorneys and it has not, the court sees no choice but to allow discovery regarding
matters involving the negotiation and drafting of the agreement to proceed. See In re Buspirone
Antitrust Litigation, 208 F.R.D. 516, 521-22 (S.D.N.Y. 2002) (“It would be unfair for a party
who has asserted a factual matter that places attorney-client communications at issue to deprive
the opposing party of the means to test that factual matter through discovery of those
communications.”); Doe v. Eli Lilly & Co., Inc., 99 F.R.D. 126, 127 (D.D.C. 1983); see also 8

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        For similar reasons, the court finds that defendant has impliedly waived the attorney-
client privilege as to documents drafted by other USDA personnel that refer to the OGC
Memorandum (the second category described above). Those documents likewise must be
produced sans redaction. The same is true of several documents within the third category
outlined above – those generated by USDA personnel that refer to communications to or from
OGC lawyers regarding the implementation of the Resolution Agreement. Again, these
documents constitute a subset of the broader category of parol evidence that may bear upon the
interpretation of the agreement and thus fall within the subject matter waiver described above.

                                                B.

         One of the documents generated by USDA personnel – an April 15, 1997, memorandum
drafted by the USDA State Executive Director for Alabama – refers to a communication received
from the OGC, but does not deal with the drafting, negotiation, interpretation or implementation
of the Resolution Agreement. Instead, it focuses on the settlement of a 1996 district court
lawsuit brought by plaintiff against the USDA. Nonetheless, that document reflects neither any
client communications made to the OGC for the purpose of obtaining legal advice nor any legal
advice or assistance provided by the latter organization. Rather, it merely describes instructions
that were received from the OGC – instructions that were more of a general administrative or
ministerial nature, as might well have come from another arm of the USDA. As such, the
document appears to be divorced from any legal representation or attorney-client relationship and
is, therefore, not covered by the attorney-client privilege.9 The same is essentially true of two


Charles Alan Wright, Arthur R. Miller & Richard L. Marcus, Federal Practice and Procedure
§ 2016.2 (2008) (“discovery is permissible of privileged matter to the extent that it is
contemplated that the privilege will be waived at trial”); Reynolds Metals Co. v. Yturbide, 258
F.2d 323, 335 (9th Cir.) (Chambers, J., concurring and dissenting), cert. denied, 358 U.S. 840
(1958) (arguing that allowing the privilege issue to linger until trial would encourage a “game of
ducks and drakes”). Indeed, other discovery regarding the negotiation and drafting process has
apparently occurred in this case, with defendant having released documents that also seemingly
reflect the views of the OGC. The latter fact alone could be viewed as effectuating a waiver of
the privilege as to all communications involving the same subject matter. See, e.g., In re Seagate
Technology, 497 F.3d at 1372 (quoting Fort James, 412 F.3d at 1349) (“The widely applied
standard for determining the scope of a waiver . . . is that the waiver applies to all other
communications relating to the same subject matter.”); Evergreen Trading, 80 Fed. Cl. at 129.
       9
          See Henson By and Through Mawyer v. Wyeth Labs., Inc., 118 F.R.D. 584, 587-88
(W.D. Va. 1987); see also United States v. Bartone, 400 F.2d 459, 461 (6th Cir. 1968), cert.
denied, 393 U.S. 1027 (1969) (“[The] mere fact that a person is an attorney does not render as
privileged everything he does for and with a client.”). In particular, the courts have recognized
that in-house counsel often serve a multiplicity of roles, some of which do not require legal
skills. The same courts have been hesitant to shield every communication to or from such
individuals, fearful that organizations will funnel documents and decisions through them in an

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other documents – an annotated notice of the dismissal of a state case filed by plaintiff, dated
April 7, 1997, and a memorandum dated July 23, 2001. Likewise outside the ambit of the
privilege are documents in which USDA personnel request that the Department of Justice
represent them in a pending lawsuit filed in the United States District Court for the Northern
District of Alabama. Various cases confirm that such bare-bone requests for representation, like
other documents that merely reveal the existence of an attorney-client relationship, are not
protected by the attorney-client privilege.10

        Finally, we confront two categories of documents involving electronic mail. The first
involves a series of messages in which various USDA personnel discuss the handling of the
administrative complaint filed by plaintiff with the Office of Civil Rights at the USDA. While
this discourse refers to advice that the OGC provided on an issue, it also indicates that the sum
and substance of that advice was communicated either to Mr. Stovall or his representative. That
disclosure, of course, precludes defendant from relying now on the attorney-client privilege. See
Carter v. Gibbs, 909 F.2d 1450, 1451 (Fed. Cir. 1990); Evergreen Trading, 80 Fed. Cl. at 128.
The second set of electronic mail messages involves communications among various USDA
personnel, including members of the OGC, discussing the handling of this case. Nothing in those
messages appears to be the least bit relevant to the merits of this case and, accordingly, the court
concludes that, even under the liberal discovery relevancy standard, they need not be produced.
See RCFC 26(b)(1).11

                                                IV.

      This court need go no further. Based on the foregoing, and as reflected in the attached
Appendix A, the court orders as follows:




effort to shield them from discovery. See Paul R. Rice, Attorney-Client Privilege in the United
States, § 7:2 (2d. ed. 1999). Analogous concerns, of course, are raised by the prospect of
shielding every decision or instruction made or recommended by a member of an agency general
counsel’s office.
       10
          See Chaudhry v. Gallerizzo, 174 F.3d 394, 402 (4th Cir. 1999), cert. denied, 528 U.S.
891 (1999); Clarke v. Am. Commerce Nat’l Bank, 974 F.2d 127, 129 (9th Cir. 1992);
Humphreys, Hutcheson and Moseley v. Donovan, 755 F.2d 1211, 1219 (6th Cir. 1985); see also
Edna Selan Epstein, The Attorney-Client Privilege and the Work-Product Doctrine 88-93 (5th ed.
2007) (noting that “[t]he cases so holding are legion and arise in a multiplicity of contexts”).
       11
           The court also declines to order the production of certain documents that appear to be
exact duplicates of documents that will otherwise be produced. It will order defendant to
produce multiple copies of the same documents (e.g., the OGC Memorandum), where the copies
contain slightly different information regarding the recipients.

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1.   On or before March 6, 2009, the following documents shall be
     produced by defendant to plaintiff: 1, 2, 3, 4, 5, 6, 7, 14, 15, 16,
     22, 23, 24, 25 and 26;

2.   The following documents shall not be produced: 8, 9, 10, 11, 12,
     13, 17, 18, 19, 20, and 21;

3.   Because neither party has fully prevailed herein, the court will not
     order the payment of reasonable expenses, see RCFC 37(a)(5); and

4.   On or before March 13, 2009, the parties shall file a joint status
     report indicating how this case should proceed, with a proposed
     schedule, as appropriate.

IT IS SO ORDERED.



                                             s/ Francis M. Allegra
                                             Francis M. Allegra
                                             Judge




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                                                        Appendix A

Tab   Date       Document Type       Subject Matter                                                               Ruling
1     04/24/98   Note to File        USDA personnel notes describing communications between OGC and               Produce, III.A.
                                     USDA personnel implementing Resolution Agreement
2     04/24/98   Notes               USDA personnel notes on implementation of Resolution Agreement and           Produce, III.A.
                                     referencing communications with OGC attorneys
3     03/30/98   Memorandum          OGC analysis of draft Resolution Agreement                                   Produce, III.A.
4     04/23/98   Note to File        USDA personnel notes containing a description of a conversation between      Produce, III.A.
                                     USDA personnel discussing OGC memorandum
5     04/15/97   Letter              USDA personnel correspondence regarding plaintiff’s state civil litigation   Produce, III.B.
                                     and referencing ministerial guidance from OGC
6     04/07/97   Notice              Printout of dismissal notice in plaintiff’s state civil litigation with      Produce, III.B.
                                     handwritten notes referencing communications with OGC attorneys
7     Undated    Letter              Request for legal representation by USDA personnel                           Produce, III.B.
8     04/24/98   Note to File        Duplicate of Tab 1                                                           Protect, III.B.
9     04/24/98   Notes               Duplicate of Tab 2                                                           Protect, III.B.
10    03/30/98   Memorandum          Duplicate of Tab 3                                                           Protect, III.B.
11    04/23/98   Note to File        Duplicate of Tab 4                                                           Protect, III.B.
12    04/15/97   Letter              Duplicate of Tab 5                                                           Protect, III.B.
13    Undated    Letter              Duplicate of Tab 7                                                           Protect, III.B.


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Tab   Date       Document Type      Subject Matter                                                              Ruling
14    11/14/01   Email              USDA personnel correspondence with status update of interactions with       Produce, III.B.
                                    plaintiff and referencing OGC advice
15    11/14/01   Email              Near Duplicate of Tab 14; USDA personnel correspondence with status         Produce, III.B.
                                    update of interactions with plaintiff and referencing OGC advice
16    07/23/01   Memorandum         USDA personnel correspondence regarding the servicing of plaintiff’s        Produce, III.B.
                                    application
17    06/03/04   Email              USDA personnel correspondence regarding the status of plaintiff’s federal   Protect, III.B.
                                    litigation
18    09/29/04   Email              USDA personnel correspondence regarding the status of plaintiff’s federal   Protect, III.B.
                                    litigation
19    06/12/06   Email              USDA personnel correspondence regarding the status of plaintiff’s federal   Protect, III.B.
      04/19/06                      litigation
20    01/26/06   Email              USDA personnel correspondence regarding the status of plaintiff’s federal   Protect, III.B.
                                    litigation
21    01/24/06   Email              USDA personnel correspondence regarding the status of plaintiff’s federal   Protect, III.B.
                                    litigation
22    02/28/01   Email              Correspondence memorializing conversation with plaintiff’s                  Produce, III.B.
                                    representative regarding the status of plaintiff’s federal litigation
23    05/12/98   Notes              USDA personnel notes on implementation of Resolution Agreement and          Produce, III.A.
                                    referencing communications with OGC attorneys
24    05/12/98   Notes              USDA personnel notes on implementation of Resolution Agreement and          Produce, III.A.
                                    referencing communications with OGC attorneys


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Tab   Date       Document Type    Subject Matter                                                        Ruling
25    03/30/98   Memorandum       Near Duplicate of Tab 3; OGC analysis of draft Resolution Agreement   Produce, III.A.
26    04/24/98   Note to File     Near Duplicate of Tab 1; USDA personnel notes describing              Produce, III.A.
                                  communications between OGC and USDA personnel implementing
                                  Resolution Agreement




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